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 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Nos., State Bar No. & Email Address


                                                                                                         FILED & ENTERED

                                                                                                                 JUN 16 2021

                                                                                                           CLERK U.S. BANKRUPTCY COURT
                                                                                                           Central District of California
                                                                                                           BY sumlin     DEPUTY CLERK




     Individual appearing without attorney
     Attorney for:

                                          UNITED STATES BANKRUPTCY COURT
                                 CENTRAL DISTRICT OF CALIFORNIA –Los Angeles DIVISION

 In re:                                                                      CASE NO.: 2:18-bk-15829-NB
                                                                             CHAPTER: 7

           PHILIP JAMES LAYFIELD,                                            ORDER:
                                                                                    GRANTING TELEPHONIC REQUEST FOR
                                                                                    HEARING ON SHORTENED NOTICE AND
                                                                                    SETTING HEARING ON SHORTENED
                                                                                    NOTICE
                                                                                    DENYING APPLICATION FOR ORDER
                                                                                    SETTING HEARING ON SHORTENED
                                                              Debtor(s).            NOTICE
                                                                                             [LBR 9075-1(b)]

 Movant (name): RODNEY PIMENTEL



1. Movant [anticipates filing] filed the following motion together with supporting declarations and (if any) supporting
   documents:

    a. Title of motion: Motion for Relief From the Automatic Stay Under 11 U.S.C. § 362 (Action in Nonbankruptcy
       Forum) (the “R/S Motion”)

    b. [Anticipated] Date of filing of motion: June 16, 2021

2. Pursuant to LBR 9075-1(a), on June 15, 2021, movant made a telephonic request for an emergency hearing on less
   than 48 hours’ notice (the “Application”).

    Pursuant to LBR 9075-1(a)&(b) and 1001-1(d), movant also filed this Court is provisionally treating the R/S Motion as
    an Application for Order Setting Hearing on Shortened Notice (Application) together with supporting declaration(s),
    and alternatively this Court is provisionally determining that a separate Application is not required. Alternatively, this
    Court provisionally is waiving any requirement for a separate Application:

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3. Based upon the court’s review consideration of the Application, it is ordered that:

    a.         The Application is denied. The motion may be brought on regular notice pursuant to LBRs.

    b.         The Application is provisionally granted (see paragraph 7 below), and it is further ordered that:

         (1)         A hearing on the motion will take place as follows:


                Hearing date: June 24, 2021                  Place:
                Time: 1:00 p.m.                                  255 East Temple Street, Los Angeles, CA 90012
                                                                 21041 Burbank Boulevard, Woodland Hills, CA 91367
                Courtroom: via ZoomGov
                                                                 3420 Twelfth Street, Riverside, CA 92501
                                                                 411 West Fourth Street, Santa Ana, CA 92701
                                                                 1415 State Street, Santa Barbara, CA 93101

         (2)         No later than the deadlines given, telephonic notice of the hearing must be provided to all
                     persons/entities listed: N/A

         (3)         No later than the deadlines given, written notice of the hearing and a copy of this order must be
                     served upon all persons/entities listed using the methods set forth below:              one of the
                     methods checked                                       all of the methods checked

               (A)        Personal Delivery             Overnight Mail                First class mail               Facsimile*               Email*

                (B) Deadlines for RECEIPT               (C) Persons/entities to be served with written notice and a copy of this
                of Expedited Service – i.e.,                order:
                overnight mail, personal                   Parties to be served via Expedited Service: All parties in the
                delivery, facsimile*, email*, or          Nonbankruptcy Action, the chapter 7 trustee, the debtor and debtor’s
                Notice of Electronic Filing               attorney (if any), and any other person directly affected by the R/S Motion
                (“NEF”):
                Date: June 18, 2021                     (D) Service is also required upon:
                                                            -- United States trustee (electronic service is not permitted)
                                                            -- Judge’s copy personally delivered to chambers
                                                               (see Court Manual for address)

         (4)         No later than the deadlines given, a copy of the motion, declarations, and supporting documents (if any),
                     must be served on all persons/entities listed using:      one of the methods checked        all of the
                     methods checked Same as above.

         (5)         Regarding opposition to the motion:

                     opposition to the motion may be made orally at the hearing

                     no later than the deadlines given, written opposition to the motion must be filed with the court and
                     served upon all persons/entities listed using:     one of the methods checked          all of the methods
                     checked
               (A)        Personal Delivery            Overnight Mail              First Class Mail                Facsimile*                Email*




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                (B) Deadlines for RECEIPT:             (C) Persons/entities to be served with written opposition to the motion:
                 Date: June 23, 2021                       -- movant’s attorney (or movant, if movant is not represented by an
                                                              attorney)
                 Time: 10:00 a.m.
                                                       (D) Service is also required upon:
                                                           -- United States trustee (electronic service is not permitted)
                                                           -- Judge’s copy personally delivered to chambers
                                                              (see Court Manual for address)


        (6)       Regarding a reply to an opposition:

                  a reply to opposition may be made orally at the hearing.

        (7)       Other requirements:

        Pursuant to Judge Bason’s COVID19 Procedures, appearances must be via ZoomGov. For instructions on
        how to appear via ZoomGov, please see the tentative ruling that will be posted for the first matter on the calendar
        (i.e., page 1 of the posted tentative rulings). Note that CourtCall (the service that was previously used by this
        Court for telephonic appearances) will not be able to connect to the hearing, but ZoomGov will permit either video
        or telephonic appearance (at no cost to the user).

        The first issue that Applicant is directed to address at the hearing is whether to shorten time, and why notice could
        not have been provided sooner.

        (8)       No later than the deadlines given, movant must file a Declaration of Notice and Service establishing
                  that telephonic notice, written notice, and service of the motion and this order was completed as set forth
                  above, and a judge’s copy of the Declaration of Notice and Service must be personally delivered to the
                  judge’s chambers:

                        at least 2 days before the hearing.

                        no later than:          Date: June 17, 2021                Time: 5:00 p.m.

        * Service by electronic means (facsimile or email) requires compliance with F.R.Civ.P. 5(b)(2)(E).

                                                                        ###




                Date: June 16, 2021




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